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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA, )
                            )
           Plaintiff,       )
                            ) Cause No. 1:98-cr-00038-JMS-MJD-03
      v.                    )
                            )
  MARK A. WHITE,            )
                            )
           Defendant.       )

               RESPONSE TO MOTION TO REDUCE SENTENCE

        The United States of America opposes Mark White’s motion to reduce

  his sentence pursuant to § 404 of the First Step Act of 2018. White is

  ineligible for relief because his statutory penalties have not changed. His

  guideline range also remains the same. White’s argument is primarily based

  on repeating a claim that the Seventh Circuit denied on direct appeal 18

  years ago.

        Thus, the Court should deny his motion.
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                                BACKGROUND1

                      Crimes, Convictions and Sentencing

        The Seventh Circuit, on direct appeal, summarized the facts of White’s

  crime as follows:

        Defendants Willie Boddie, Stephanie Johnson, Dennis Jones,
        Anthony Spradley, Anthony Thompson, Ellis Walker, and Mark
        White were charged with crimes arising out of their participation
        in a large, Indianapolis-based drug conspiracy. The conspiracy
        reigned from 1992 to 1997 and involved the trafficking of
        hundreds of kilograms (kilos) of cocaine, the accumulation and
        laundering of substantial profits, and two short-lived business
        pursuits. The conspiracy seemed invincible until November
        1996, when Marcus Willis, working on behalf of law-enforcement
        officials, arrived on the scene. He worked for law enforcement for
        approximately eight months (through June of 1997) until he was
        murdered in one of the defendant’s vehicles. Not long after this
        murder, charges were filed against each of the defendants and
        several others . . .

  United States v. Thompson, 286 F.3d 950, 956 (7th Cir. 2002).

        For his part, White was charged with: conspiracy to distribute cocaine,

  tampering and retaliating against a witness (two counts), a firearm count,

  and three counts of money laundering. (Dkt. 1.) White went trial and was

  convicted on four of those counts: conspiracy to possession with intent to




  1Throughout this response, the United States will make the following
  references: (Dkt. = Docket Number); (PSR = Presentence Investigation
  Report); (SPRS = Supplemental Presentence Investigation Report, compiled
  on remand).
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  distribute and to distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and

  846; two counts of conspiracy to commit money laundering, in violation of 18

  U.S.C. § 1956; and conducting financial transactions with proceeds from

  unlawful activity, in violation of 18 U.S.C. § 1956. (PSR p. 1.)

        Initially, White’s guideline range was life based on trafficking more

  than five kilograms of cocaine and the murder cross-reference, under

  U.S.S.G. § 2D1.1(d)(1), for killing Willis. Thompson, 286 F.3d at 956; (PSR

  ¶¶ 41, 104.) The Court sentenced Willis to life imprisonment. (Dkt. 1, p. 18.)

  However, on appeal, the Seventh Circuit found that murder cross-reference

  should not have been applied, and remanded. Thompson, 286 F.3d at 960–

  61.

        Also pertinent here, White raised a claim under Apprendi v. New

  Jersey, 530 U.S. 466 (2000). Thompson, 286 F.3d at 966–67. The Seventh

  Circuit rejected that claim:

        All the defendants, except Johnson, challenge their sentence
        based on the rule established in Apprendi v. New Jersey, 530 U.S.
        466, 120 S. Ct. 2348, 147 L.Ed.2d 435 (2000), that any fact (other
        than a prior conviction) that increases the sentence beyond the
        statutory maximum must be submitted to the jury and proven
        beyond a reasonable doubt. The defendants claim that the district
        court erred by failing to submit drug quantity to the jury because
        drug quantity determines the maximum sentence under 21
        U.S.C. § 841(a). See United States v. Nance, 236 F.3d 820, 825
        (7th Cir. 2000) (holding that it is Apprendi error not to submit
        drug quantity to the jury). Because the defendants did not object
        below, plain error is the appropriate standard of review. Id. To

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         succeed on plain error review, the defendants must show that a
         jury would not have been able to find that the conspiracy
         distributed over five kilos of cocaine, the amount necessary to
         support the sentences imposed by the court. See Id. at 826. Based
         on the evidence presented at trial, the defendants cannot make
         that showing.


  Thompson, 286 F.3d at 966–67.

         Remand did not otherwise alter White’s guidelines calculations. (See

  SPSR.) His base offense level was 38 because he was responsible for at least

  500 kilograms of cocaine and more than 1.5 kilograms of cocaine base. (SPSR

  ¶ 2.) Two levels were then added for possession of a weapon, resulting in an

  offense level of 40. (SPSR ¶¶ 3, 7, 19, 22.) With a criminal history category

  of II, his guideline range was 324 to 405 months. (SPSR ¶¶ 20, 22.)

         At the sentencing hearing, however, the Court found that two more

  levels should be added for obstruction of justice. (Dkt. 47 (citing

  Resentencing Tr. 16).) Thus, White’s guideline range, with an offense level of

  42, was 360 to life.

         The Court sentenced White to 480 months’ imprisonment. (Dkt. 1, p.

  21.)

                    White’s Motions to Reduce His Sentence

         In 2015, White moved to reduce his sentence, under 18 U.S.C.

  § 3582(c)(2), citing Amendment 782 to the guidelines. (Dkt. 39.) The


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  government opposed the motion because White’s guideline range had not

  changed. (Dkt. 47.)

           The Court denied White’s motion, finding:

           Due to the amount of cocaine and cocaine base involved in his
           case, Mr. White’s guideline range was not lowered by the two-
           level reduction to the base offense level of drug offenses. As such,
           he is not eligible for a reduction in sentence pursuant to
           Amendment 782.

  (Dkt. 54.)

           Four years later, on October 22, 2019, White filed a motion to reduce

  his sentence under the First Step Act. (Dkt. 142.) He further filed a

  supplemental brief on August 28, 2020. (Dkt. 167.)

                                     DISCUSSION

      I.      White is Ineligible for a Sentence Reduction Because His
              Statutory Penalties Have Not Changed

           The First Step Act applies to “a violation of a Federal criminal statute,

  the statutory penalties for which were modified by section 2 or 3 of the Fair

  Sentencing Act of 2010 (Public Law 111–220; 124 Stat. 2372), that was

  committed before August 3, 2010.”2 The Act provides that the court may



  2 The Fair Sentencing Act was enacted on August 3, 2010, and did not apply
  retroactively. Initially, there was uncertainty whether that Act excluded all
  defendants whose offenses were committed before August 3, 2010, or only
  defendants already sentenced before that date. In Dorsey v. United States,
  567 U.S. 260 (2012), decided on June 21, 2012, the Court held that the Act
  applied to any defendant sentenced on or after August 3, 2010, regardless of
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  “impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act

  of 2010 . . . were in effect at the time the covered offense was committed.”

  Section 404(c) states, “Nothing in this section shall be construed to require a

  court to reduce any sentence pursuant to this section.”

        The Fair Sentencing Act did not impact White’s sentence. (See Dkt.

  54.) Neither his statutory nor guidelines range has changed.

        White’s statutory range remains the same. When sentenced, under

  § 841(b)(1)(A), White’s statutory minimum sentence was 10 years because of

  the 500 kilograms of cocaine attributable to him. (PSR ¶ 103.) The Fair

  Sentencing Act increased the amount of crack necessary to fall under

  § 841(b)(1)(A), but not cocaine. Thus, currently, 500 kilograms of cocaine also

  easily clears the five-kilogram threshold under § 841(b)(1)(A), and White’s

  statutory minimum remains 10 years. § 841(b)(1)(A). He is ineligible for a

  sentence reduction.

        Nor is this a multi-object conspiracy where one component’s penalties

  changed and the other did not. United States v. Hudson, 967 F.3d 605, 610

  (7th Cir. 2020); United States v. Mockabee, 435 F. Supp. 3d 949 (S.D. Ind.

  Jan. 27, 2020). White’s crack cocaine responsibility of 1.5 kilograms, did not




  when the offense occurred. This did not help the defendant, who was
  sentenced before August 3, 2010.
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  clear the pertinent threshold under § 841(b)(1)(A)—previously, 50 grams or

  more of crack, and currently 280 grams. Thus, White’s mandatory minimum

  was based on his cocaine responsibility, not his crack responsibility, and his

  statutory sentence has not changed.

        Thus, White is ineligible for relief under the First Step Act because his

  statutory penalties were not modified.

        Beyond that, White’s guideline range remains the same. (See Dkt. 142,

  p. 4.) When White was sentenced, his base offense level was 38 based on a

  drug responsibility of at least 500 kilograms of cocaine. (SPSR ¶ 2.) That

  remains true now. Today, the 500 kilograms of cocaine attributable to White

  easily clears the threshold of 450 kilograms of cocaine necessary for level 38.

  See U.S.S.G. § 2D1.1(c)(1) (2018). That is, of course, why the Court denied

  White’s motion to reduce his sentence under Amendment 782. (Dkt. 54.)

  White is ineligible for a reduction.

        White, however, primarily reiterates his argument on direct appeal

  regarding Apprendi. (Dkt. 142, p. 4; Dkt. 167, pp. 2–14.) But that claim is

  not available here and, even if it were, the Seventh Circuit’s ruling is law the

  of case. “One an appellate court either expressly or by necessary implication

  decides an issue, the decision is binding upon all subsequent proceedings in

  the same case under the law-of-the-case doctrine.” Dobbs v. DePuy


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  Orthopaedics, Inc., 885 F.3d 455, 458 (7th Cir. 2018) (citing Key v. Sullivan,

  925 F.2d 1056, 1060 (7th Cir. 1991)) (internal quotations and brackets

  omitted). White cannot relitigate this claim here.

         His other counterarguments are incorrect and irrelevant. He makes a

  confusing argument about the concurrent sentence doctrine, (Dkt. 142, p. 5),

  but that doctrine is inapplicable because it merely permits an appellate court

  to pretermit decisions about convictions with concurrent sentences, Ryan v.

  United States, 688 F.3d 845, 849 (7th Cir 2012). He also raises an argument

  under Hughes v. United States, 138 S. Ct. 1765 (2018), (Dkt. 167, pp. 1–2),

  but Hughes involved eligibility for sentence reductions after plea agreements

  and White went to trial, Hughes, 138 S. Ct. at 1771.

         White’s statutory minimum remains the same, therefore he is not

  eligible for relief.

                                 CONCLUSION

         For the reasons stated above, this Court should deny White’s motion to

  reduce his sentence.

                                       Respectfully submitted,

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                                       Acting United States Attorney

                                By:    s/Brian Reitz
                                       Assistant United States Attorney

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                          CERTIFICATE OF SERVICE


        I certify that on November 24, 2020, a copy of the foregoing was filed

  electronically and that a copy was mailed the following business day, by first

  class U.S. Mail, postage prepaid and properly addressed to the following:


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